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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION



UNITED STATES OF AMERICA                                                               PLAINTIFF


VS.                           CASE NO. 4:07-CR-40003-HFB-001


CARL JAMES EASTER                                                                   DEFENDANT

                                             ORDER

       Before the Court is a Motion for Order to Participate in Intensive Drug Treatment Program

filed by Defendant Carl James Easter. (ECF No. 94). Defendant is seeking a recommendation from

the Court that he participate in an intensive drug treatment program while incarcerated. The Court

notes that the determination whether or not Defendant can participate in the drug treatment program

is within the sole discretion of the United States Bureau of Prisons (“BOP”), and the BOP is free to

disregard a court’s recommendation. See 18 U.S.C. § 3621. In this case, there is nothing in the

record that supports a recommendation from this Court that Defendant participate in a drug treatment

program. In fact, Defendant has denied any use of controlled substances. Thus, Defendant’s Motion

for Order to Participate in Intensive Drug Treatment Program (ECF No. 94) is DENIED.

       IT IS SO ORDERED, this 17th day of January, 2014.

                                                     /s/ Harry F. Barnes
                                                     Harry F. Barnes
                                                     Senior United States District Judge
